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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF INDIANA
                             SOUTH BEND DIVISION


KATIA HILLS,

                 Plaintiff,                 Civil No.: 3:17-cv-00556-JD-MGG

     -against-

AT&T MOBILITY SERVICES LLC a/k/a
AT&T MOBILITY LLC,

                 Defendant.




       DEFENDANT’S MEMORANDUM IN OPPOSITION TO PLAINTIFF’S
             MOTION FOR PARTIAL SUMMARY JUDGMENT
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I.       INTRODUCTION

         Plaintiff’s motion is based on speculation and a flawed argument that AT&T violates the

Pregnancy Discrimination Act simply because it does not automatically excuse absences that

may occur during pregnancy. The PDA neither mandates pregnancy leave nor requires that

employers excuse all absences, even if pregnancy related. Rather, it requires that AT&T treat

pregnant employees the same as other employees who are similar in their ability or inability to

work.

         In her motion, Plaintiff shows that some of her absences during pregnancy were not

excused, but there is a genuine issue as to whether those were pregnancy-related. She ignores the

evidence that absences shown to be pregnancy-related were excused by AT&T. Significantly, she

fails to show that AT&T treated any non-pregnant employees any differently.

         Plaintiff bears a high burden on summary judgment. She must establish through

admissible evidence that no reasonable jury could find for AT&T on her claim under the PDA.

On the record before this Court, a reasonable jury could certainly find that AT&T did not

intentionally discriminate against Plaintiff. Therefore, her motion for partial summary judgment

on Count One of her Complaint must be denied.

II.      SUMMARY OF MATERIAL FACTS

         A.     Plaintiff’s Employment with AT&T Mobility

         During the relevant time, AT&T Mobility (“AT&T”) operated retail stores in Indiana,

managed by store managers and staffed by non-management, non-exempt bargained for

employees (“Sales Employees”). (SMF ¶ 77-78). 1 From April 7, 2014 to July 16, 2015, Plaintiff



1
  Defendant’s Rule 56-1 Statement of Genuine Disputes and Additional Material Facts, hereafter
referred to as “SMF,” is appended hereto.


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Katia Hills (née Patino) worked in AT&T’s Cassopolis Street, Indiana store. (Id. ¶¶ 1, 4, 76). She

was originally hired as a Sales Support Representative but later transferred to the customer-

facing position of Retail Sales Consultant. (Id. ¶ 4-5). Plaintiff was at all times represented by a

union. (Id. ¶ 82).

        Sales Employees like Plaintiff provided various in-store customer services, including the

resolution of product inquiries, the sale of cellphones, tablets and data plans, and other

administrate aspects of the sale. (Id. ¶ 5). To ensure the best possible service to customers,

AT&T depended on Sales Employees to report to work on time and as scheduled, absent a good

excuse. (Id. ¶ 83).

        B.      AT&T’s Neutral Attendance Management Policy

        AT&T maintained written guidance regarding discipline for attendance in the form of

Sales Attendance Guidelines (“SAG”). 2 (Id. ¶ 84). Under the SAG, a Sales Employee incurred

“points” (or fractions of points) each time an absence, tardy, or early departure was unexcused.

(Id. ¶ 86). The SAG also contained recommended progressive levels of discipline, up to and

including dismissal, as a Sales Employee’s point total escalated over time. (Id. ¶ 87). Points did

not remain on a Sales Employees’ record forever; they expired within a year. (Id. ¶ 35).

        AT&T understands that any number of life circumstances may keep an employee from

reporting to work as scheduled. (Id. ¶ 83). The SAG therefore recognized a non-exhaustive list of

excuses available to Sales Employees who found themselves with attendance problems. (Id. ¶

94). For example, Sales Employees were excused from work for approved leaves of absence



2
  There were two versions of the SAG in effect during Plaintiff’s employment: the “2011 SAG”
(in effect from her hire until April 30, 2015); and the “2015 SAG” (in effect from May 1, 2015
through the date of her termination). For purposes of this Summary, they can and have been
discussed collectively. For further detail on the intricacies of each SAG, see Defendant’s
Statement of Genuine Disputes and Additional Material Facts, appended hereto.
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(FMLA, etc.), approved job accommodations, approved short-term disability leave, or qualified

bereavement, among many other reasons. (Id. ¶ 31). These and all other reasons warranting

excused absences applied to all Sales Employees, regardless of whether they were pregnant. (Id.

¶ 85).

         Whether any particular set of circumstances qualified for an excuse under the SAG often

depended on other applicable AT&T policies. (Id. ¶¶ 96, 104, 111). For example, the SAG

instructed that absences tied to an approved job accommodation should be excused. (Id. ¶ 95). It

also directed Sales Employees in need of an accommodation to contact AT&T’s Integrated

Disability Service Center (“IDSC”) to request one. (Id. ¶¶ 100, 120). The types of illnesses or

conditions that qualified for a job accommodation in the form of time off work depended, in turn,

on AT&T’s job accommodation policy, as determined by the IDSC in partnership with retail

store management. (Id. ¶¶ 96, 101). At AT&T, job accommodations were not limited to

employees with conditions that qualified as disabilities under the ADA. (Id. ¶ 99). Similarly, the

SAG identified as excused absences due to an approved FMLA Leave. (Id. ¶ 103). Whether an

absence qualified as approved FMLA Leave turned on AT&T’s FMLA policy as applied by

AT&T’s FMLA Operations Team (“FMLA Team”). (Id. ¶¶ 104, 107). Again, these policies and

their corresponding approval process applied to all Sales Employees equally, whether pregnant

or not. (Id. ¶ 85).

         AT&T provided Sales Employees and supervisors with resources to assist with questions

about the SAG, whether an absence should be excused, and the process for obtaining an excuse

under the SAG. (Id. ¶¶ 118-122). AT&T trained Sales Employees, store managers, and other




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supervisors on the SAG and its suite of employment policies related to leaves and attendance. 3

(Id. ¶¶ 90, 92, 93, 97). From this training, Sales Employees knew that the SAG and AT&T’s

attendance-related policies were available to them, on-demand, on AT&T’s intranet

(HROneStop), Retail web portal (myCSP), and physical in-store breakrooms. (Id. ¶ 118). Sales

Employees could also contact their store manager, their local HR representative, their union

representative, or a toll-free hotline with questions. (Id. ¶¶ 82, 119, 121).

        C.     Plaintiff’s Attendance History

        Plaintiff’s attendance issues began almost immediately upon hire, before she became

pregnant. Within her first five months of work, Plaintiff was tardy six times and absent four

times. (Id. ¶ 123). On five of these occasions, Plaintiff spoke with her Assistant Store Manager

about the extenuating circumstances that caused her to miss work, and he excused her. (Id. ¶

124). On the other five occasions, Plaintiff did not request an excuse and therefore incurred

points under the SAG. (Id.).

        On August 9, 2014, after Plaintiff incurred four points, Plaintiff’s store manager gave her

a Counseling Notice that reminded her of her responsibility to be at work as scheduled. (Id. ¶¶

145, 149). It further warned that failure to improve her attendance could result in further

discipline, up to and including dismissal. (Id. ¶ 149). The Counseling Notice instructed Plaintiff

to contact AT&T’s FMLA Team or the IDSC if she had questions about how to excuse an

absence under an approved leave of absence, job accommodation, or short-term disability leave.

(Id. ¶ 150).




3
 AT&T also trained its Sales Employees and their supervisors on the company’s Equal
Employment Opportunity (“EEO”) Policy, which expressly prohibited discrimination on the
basis of sex and pregnancy. (Id. ¶ 91).
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       Plaintiff’s attendance issues continued after she became pregnant. Between November

2014 and April 2014, Plaintiff was absent eight more times. (Id. ¶ 125). Whenever Plaintiff

returned to work, and told her store manager that her absence was due to illness, he immediately

directed her to contact the IDSC to excuse her absence under an approved job accommodation.

(Id. ¶ 126). Plaintiff never contacted the IDSC. (Id. ¶ 102). As a result, her absences remained

unexcused, and she incurred points under the SAG. (Id. ¶ 148). By April 24, 2015, Plaintiff

received from her store manager a second Counseling Notice (after 4.25 points, on December 27,

2014), a Written Warning (after 5.50 points, on February 14, 2015), and a Final Written Warning

(after 6.0 points, on April 24, 2015). (Id. ¶¶ 146-148). Each time Plaintiff and her store manager

sat down to review her attendance history, and its resulting discipline, both her store manager

and the written discipline document she received instructed Plaintiff to call the IDSC if she

wanted a job accommodation to excuse her time off work. (Id. ¶ 150). Still, Plaintiff failed to

contact the IDSC, and her absences remained unexcused. (Id. ¶ 102).

       Plaintiff continued to miss work in April, May, and June 2015. (Id. ¶¶ 56, 72). On one of

these occasions, Plaintiff initiated a request to excuse her absence, and submitted to AT&T

documentation that certified her need to attend a medical appointment on the date of that absence

(May 26, 2015). (Id. ¶ 130). AT&T approved Plaintiff’s request for FMLA. (Id. ¶ 142). As a

result, Plaintiff’s May 26 absence was excused and Plaintiff did not incur a point. (Id. ¶ 143). For

the remaining dates, however, Plaintiff failed to submit the documentation requested, and her

requests to excuse the absence under FMLA were denied.

       On May 5, 2015, Plaintiff requested an FMLA excuse for her May 4, 2015 absence. (Id. ¶

127). That same day, AT&T’s FMLA Team informed Plaintiff that her healthcare provider

needed to submit documentation to support this request (i.e., the FMLA4 form) by May 20. (Id.).



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On May 9, AT&T received an incomplete FMLA4 form from Plaintiff’s doctor, which was

missing two of the four required pages, and aside from Plaintiff’s name and date of birth, was

otherwise blank. (Id. ¶ 128). On May 12, the FMLA Team notified Plaintiff of these deficiencies

and extended her deadline to May 27. (Id. ¶ 129).

       On May 26, Plaintiff’s doctor provided to AT&T another FMLA4 form. (Id. ¶ 130). That

form certified that Plaintiff (i) would be incapacitated following the birth of her child in June, (ii)

had a medical appointment on May 21, and (iii) was scheduled for a follow-up visit on May 26—

but it did not indicate that Plaintiff needed to miss work on May 4 as a result of her pregnancy.

(Id.). The FMLA Team informed Plaintiff that the documentation “does not indicate you were ill

and/or incapacitated on the date(s) for which you are requesting FMLA” and gave her until June

17 to remedy that deficiency. (Id. ¶ 131). Plaintiff failed to submit any documentation supporting

her May 4 absence by that deadline and, as a result, AT&T denied her request for FMLA. (Id. ¶¶

132-33). In discovery, she testified that her doctor refused to certify that the absence was

pregnancy-related. (Id. ¶ 132).

       Then, on May 20, 2015, Plaintiff requested an FMLA excuse for her May 16, 2015

absence. (Id. ¶ 136). On three separate occasions, AT&T contacted Plaintiff to inform her that

the documentation submitted (i.e. the same FMLA4 form submitted in connection with her prior,

May 4 absence, which did not reflect that Plaintiff was unable to work due to her pregnancy on

May 16, either) was insufficient. (Id. ¶ 137). Plaintiff failed to later submit any documentation

supporting that absence, and as a result, AT&T denied her request for FMLA. (Id. ¶ 139).

Indeed, during the course of her employment, Plaintiff never submitted to AT&T a copy of her

medical records from the medical center she is now-known to have visited on May 16 (or for that

matter any other medical records related to that absence). (Id. ¶ 141).



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       Plaintiff incurred additional points for each of these unexcused absences and, as a result

of her persistent history, Plaintiff’s Store Manager terminated her employment on July 16, 2015,

for unsatisfactory attendance. (Id. ¶ 73).

III.   ARGUMENT

       Plaintiff asks this Court for summary judgment on Count I of the Complaint despite

presenting no evidence of discriminatory intent and no evidence even remotely suggesting that

others similar in their inability to come to work were treated differently than she was while

pregnant. Instead, she wrongly asserts that AT&T’s attendance guidelines are “facially

discriminatory” and speculates that those guidelines “automatically excused” absences for

certain categories of workers but not others.

       Where a plaintiff moves for summary judgment on an employment discrimination claim,

she bears both the initial burden of production on the motion and the ultimate burden of

persuasion that her claim would prevail at trial. Fed. R. Civ. P. 56(a); Tex. Dep't of Cmty. Affairs

v. Burdine, 450 U.S. 248, 253 (1981). Summary judgment is warranted only where the movant

establishes that “there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). In other words, “a plaintiff moving for

summary judgment must essentially show that the evidence is so powerful that no reasonable

jury would be free to disbelieve it.” Armfield v. Key Plastics, LLC, No. 1:08 CV 110, 2011 U.S.

Dist. LEXIS 80482, at *30 (N.D. Ind. July 22, 2011).

       A non-movant, here AT&T, is not required to refute a movant’s assertion if that assertion

is unsupported by fact. McLaughlin Equip. Co. v. Servaas, No. IP98-0127-C-T/K, 2004 WL

1629603, at *5 (S.D. Ind. Feb. 18, 2004) (quoting Nissan Fire & Marine Ins. Co. v. Fritz Cos.,

210 F.3d 1099, 1102–03 (9th Cir. 2000) (“If a moving party fails to carry its initial burden of

production, the nonmoving party has no obligation to produce anything.”). The Court must
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review the record “taken as a whole.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

U.S. 574, 587 (1986). Also, the record and all reasonable inferences that may be drawn from it

are to be viewed in a light most favorable to the party opposing summary judgment. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 247–52 (1985).

        On the present record, Plaintiff has not sustained her burden under Rule 56 and her

motion for partial summary judgment should be denied.

        A.     The SAG is facially neutral.

        The Pregnancy Discrimination Act (“PDA”) prohibits employers from discriminating on

the basis of “pregnancy, childbirth, or related medical conditions,” and provides that “women

affected by pregnancy, childbirth, or related medical conditions shall be treated the same for all

employment-related purposes…as other persons not so affected but similar in their ability or

inability to work.” 42 USC 2000e(k) (emphasis added). Consistent with the PDA, the SAG treats

pregnant and non-pregnant employees who are similar in the ability or inability to work equally.

        Plaintiff claims that the SAG was “facially discriminatory” because the word

“pregnancy” did not appear in the document. (Plf. Br. 5). She is wrong for four reasons.

        First, on its face, the SAG applied equally to all Sales Employees in Plaintiff’s region,

regardless of whether they were pregnant. 4 AT&T clearly prohibited discrimination against

pregnant employees, including in its application of the SAG. (SMF ¶ 85). Where a policy is

facially neutral, it is impossible to conclude, without inferring, that any distinction in wording



4
  The fact that Plaintiff was the only pregnant Sales Employee and the only person terminated for
attendance during the 15 months she was employed is hardly evidence to the contrary. (See Plf.
Br. 15). Plaintiff fails to acknowledge, for example, that during her employment, the Cassopolis
Street store was staffed by only four other Sales Employees. (SMF ¶ 78). She also fails to
disclose that only a few months after her employment ended, AT&T terminated one of her male
co-workers at the Cassopolis Street store due to unsatisfactory attendance, including for an
absence that occurred during Plaintiff’s employment. (Id. ¶ 79).
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was based upon an intent to discriminate against pregnant employees. See Young v. United

Parcel Servs., 575 U.S. 206, 212–13 (2015) (a workplace policy that does not expressly rely on a

protected characteristic cannot constitute direct evidence of discriminatory intent).

        Second, managers were trained not to apply their discretion in a discriminatory manner,

and Plaintiff offers no evidence to suggest that they did. Directing attention away from the face

of the policy, Plaintiff complains that her store manager never used his discretion to excuse her

pregnancy-related absences. But her store manager exercised his discretion on equal terms with

respect to all Sales Employees; he only used it to remedy technical timecard errors, such as when

a Sales Employee—pregnant or not pregnant—showed up to work but forgot to “punch in.”

(SMF ¶ 116). Indeed, on multiple occasions during her pregnancy, Plaintiff arrived to work but

forgot to “punch in”—and her store manager used his discretion to ensure she did not receive a

point. (Id. ¶ 117).

        Third, Plaintiff’s own experience confirms that the SAG is not discriminatory. AT&T

excused under the SAG Plaintiff’s absences that were shown to be pregnancy-related. For

example, Plaintiff was absent on May 26, 2015, despite being scheduled to work. (Id. ¶ 67). That

same day, AT&T received documentation from Plaintiff’s medical provider certifying that she

was pregnant and that she needed to be seen by her doctor on May 26. (Id. ¶ 130). AT&T

reviewed Plaintiff’s request and determined that she timely submitted documentation justifying

her pregnancy-related absence on that date. (Id. ¶ 142). AT&T approved Plaintiff’s FMLA

request to excuse her May 26 occurrence, and she did not incur any point. (Id. ¶ 143). On another

instance, Plaintiff submitted documentation to AT&T to support that a six-week period of

absence beginning June 2, 2015, was pregnancy-related. (Id. ¶ 114). AT&T reviewed the




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documentation and, seeing evidence of incapacitation due to pregnancy on those dates (she gave

birth), granted excused absences for them all. (Id.).

        Fourth, Plaintiff claims the SAG is facially discriminatory because it did not afford

preferential treatment to pregnant workers. But the PDA requires only equal treatment. See

Young v. UPS, 575 U.S. 206, 222 (“We doubt that Congress intended to grant pregnant workers

an unconditional most-favored-nation status. The language of the statute does not require that

unqualified reading.”). The PDA does not require employers to excuse absences just because the

employee is pregnant, even according to the EEOC guidance Plaintiff herself cites 5: “Title VII

does not…require an employer to grant pregnancy-related medical leave or parental leave or to

treat pregnancy-related absences more favorably than absences for other medical conditions.” 6

Any employee with less than a year of tenure would be denied FMLA under AT&T’s policies—

whether pregnant, or not.

        B.     Plaintiff has not met her burden under Rule 56.

        Plaintiff has offered no direct evidence of discrimination. Therefore, she is proceeding

under the three-prong, burden-shifting framework set forth in McDonnell Douglas Corp. v.

Green, 411 U.S. 792 (1973), as modified by Young v. United Parcel Servs. Inc., 575 U.S. 206

(2015). Under that approach, she bears the burden of first establishing a prima facie case of


5
  Plaintiff cites two notices by the EEOC (and again, no record evidence) in an effort to support
her interpretation of the PDA. (Plf. Br. 17, n. 20). It is unpersuasive for several reasons. First,
one notice is not even “enforcement guidance”; it is a technical assistance document – akin to a
fact sheet – issued by the EEOC. As to the second, nowhere does it support Plaintiff’s contention
that AT&T’s policies were “expressly disparate” toward pregnant workers simply because they
denied FMLA to pregnant workers with less than a year of tenure. Indeed, as quoted above, it
expressly supports the viability of AT&T’s policies.
6
  U.S. Equal Employment Opportunity Commission, Enforcement Guidance on Pregnancy
Discrimination and Related Issues (June 25, 2015), available at
https://www.eeoc.gov/laws/guidance/enforcement-guidance-pregnancy-discrimination-and-
related-issues (emphasis added, citations omitted).
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pregnancy discrimination. She must show that: (1) she was pregnant; (2) she sought an

accommodation; (3) AT&T did not accommodate her; and (4) AT&T did accommodate others

who were “similar in their ability or inability to work” – i.e., whose “situation cannot reasonably

be distinguished from” her own. Young, 575 U.S. at 229. If Plaintiff could meet that burden,

AT&T would identify its “legitimate, non-discriminatory reasons” for not excusing her

absences—namely, that she failed to provide supporting documentation consistent with AT&T

policy. (Id.) Then Plaintiff would bear the ultimate burden of proving that any reasonable juror

must find that AT&T’s stated reasons were pretextual. (Id.)

       Here, Plaintiff fails even to meet her prima facie burden. Even if she had met that burden,

summary judgment still would be improper because she fails to present admissible evidence that,

when considered in light of AT&T’s reasons for denying her an excused absence, would compel

a jury to find a showing of intentional pregnancy discrimination.

               1.      Plaintiff fails to meet her prima facie burden.

       Plaintiff’s pregnancy discrimination claim cannot succeed unless she can show her

employer “accommodate[d] others similar [to her] in their ability or inability to work.” (Plf. Br.

at 12). Yet she fails to identify any person—let alone any similarly-limited person whose

situation a reasonable juror could not distinguish from her own—whom AT&T treated more

favorably.

       Plaintiff speculates that other Cassopolis Street store Sales Employees “may have been

absent” for “myriad reasons” such as “disability, jury duty, bereavement, military leave, union

business, and court subpoenas.” (Plf. Br. 9) (emphasis added). But the theoretical prospect of a

comparator cannot satisfy Plaintiff’s prima facie burden to actually identify one. See Young, 575

U.S. at 229. Nor does it satisfy her burden, on a motion for summary judgment, to establish that

no reasonable juror could view such a comparator’s situation as indistinguishable from her own.
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See, e.g., Santos v. Wincor Nixdorf, Inc., No. 1:16-CV-440-RP, 2018 U.S. Dist. LEXIS 48736, at

*23–24 (W.D. Tex. Mar. 23, 2018) (finding no prima facie case of pregnancy discrimination,

and granting summary judgment for employer, where plaintiff failed to identify even a single

proposed comparator by name, title, or otherwise).

        Plaintiff cites several cases on the importance of identifying a comparator, but none

support her argument that speculation can satisfy the fourth element of a prima facie case of

discrimination. (Plf. Br. 15-16). 7 Rather, the plaintiffs in each of these cases identified a specific

cohort of identifiable persons who did in fact receive a benefit – none of which Plaintiff does

here. In Durham, the court considered whether EMTs who could not lift more than 10 or 20

pounds were treated more favorably than a pregnant EMT who could not lift more than 50

pounds. Durham v. Rural/Metro Corp., 955 F.3d 1279, 1281 (11th Cir. 2020). In her opposition

to the defendant’s motion for summary judgment, the plaintiff in Durham presented evidence of

three EMTs who were granted more favorable treatment. See Durham v. Rural/Metro Corp., No.

4:16-cv-01604-VEH, 2018 WL 7892084 (N.D. Ala. Mar. 19, 2018). Likewise, in Legg, the court

considered whether injured corrections officers, who could only perform light-duty versus full-

duty assignments, were treated more favorably than pregnant corrections officers similarly

limited in their ability to perform full-duty assignments. Legg v. Ulster Cnty., 820 F.3d 67, 70




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  These cases are also unpersuasive because, like Young, they involve scenarios where a plaintiff
and her proposed comparators were similarly unable to perform aspects of their jobs. This is a
case about attendance, where Plaintiff was allegedly unable to be at work. Moreover, Plaintiff
relies on decisions concerning whether summary judgment properly was granted to defendants. It
is one thing for an appellate court to say that a reasonable juror could possibly agree that these
plaintiffs and their proposed comparators were sufficiently similar to create a question of fact for
a jury, and quite another to say that they proved their claims so convincingly that no juror could
reasonably find for the defendant. On the posture before this Court, Plaintiff must show the
latter. See Section III.B.2, below.


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(2d Cir. 2016). Again, the plaintiff identified by name five individuals who had in fact received

the more favorable, light-duty assignment. See Meadors v. Ulster Cnty., No. 1:09-cv-550

(FJS/RFT), 2011 WL 12496693 (N.D.N.Y. Apr. 1, 2011), vacated and remanded sub nom. Legg

v. Ulster Cnty., 820 F.3d 67 (2d Cir. 2016).

        Identifying particular excuses under the SAG gets Plaintiff no further. (Plf. Br. 9). The

excuses that Plaintiff invokes, including jury duty, are available to pregnant and non-pregnant

employees alike. And an employee who cannot come to work because of a jury summons, for a

certain future time and place, is not similar in her inability to work as someone (like Plaintiff)

who is unexpectedly absent and says, after the fact, that it was because of a medical condition

(pregnancy or otherwise). For those situations, AT&T has a process that involves the request for

documentation, which Plaintiff sometimes followed and sometimes did not. Absent admissible

evidence showing that another employee similar in the inability to work was granted an excuse,

however, Plaintiff has not even established a prima facie case of discrimination. 8

        Because Plaintiff fails to meet her burden of identifying any person who was so “similar

in their ability or inability to work” that their “situation cannot reasonably be distinguished from”

hers, her motion must be denied. Young, 575 U.S. at 229, 231; see also Antonetti v. Abbott Labs.,

563 F.3d 587, 592 (7th Cir. 2009) (“Without a similarly situated employee, Plaintiffs cannot

present a prima facie case and their claim must fail.”); Hong v. Children's Mem’l Hosp., 993

F.2d 1257, 1261 (7th Cir.1993) (“Without a prima facie case, the plaintiff cannot withstand

summary judgment.”).




8
  Defendant need not exhaust all possible hypotheticals here. “If a moving party fails to carry its
initial burden of production, the nonmoving party has no obligation to produce anything.”
McLaughlin, 2004 WL 1629603, at *5 (citation omitted).
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               2.      Plaintiff fails to show that no reasonable jury could believe AT&T’s
                       reasons for denying Plaintiff excused absences.

       Plaintiff has also failed to meet her burden to show that no reasonable jury would believe

AT&T’s nondiscriminatory reasons for denying her an excused absence.

       Plaintiff has no evidence that AT&T’s articulated reasons were a pretext for

discrimination, let alone evidence so compelling that no reasonable jury could find for AT&T.

To prevail on her burden of pretext and obtain summary judgment in her favor, Plaintiff must

show that no reasonable jury could find AT&T’s reasons for denying her requested excuses

nondiscriminatory. In Young, for example, the plaintiff showed that her employer accommodated

seven co-workers whose disabilities occurred “off the job” (e.g., knee injuries, stroke, and

cancer) despite saying that it could not accommodate plaintiff’s disability (e.g., pregnancy)

because it had occurred “off the job.” Young, 575 U.S. at 216–17. The plaintiff also showed a

comment by a supervisor that arguably reflected discriminatory intent. Id. at 215–16. Finding

these contradictions enough for a reasonable jury to find in plaintiff’s favor, the Court denied the

employer’s motion for summary judgment. Id. at 300.

       Plaintiff has not shown that AT&T imposed on her – or any pregnant employee – a

significant burden to obtain an excused absence due to pregnancy or a pregnancy-related

condition. AT&T requires Sales Employees who miss work due to pregnancy – or any other

medical condition – to provide documentation certifying the need for that absence. A reasonable

juror could certainly find that this requirement is reasonable.

       Second, Plaintiff has not shown that AT&T imposes a lower burden for non-pregnant

employees than for pregnant employees similar in their ability or inability to work. Plaintiff

speculates that AT&T “automatically excused” absences for non-pregnant categories of Sales

Employees, while absences for pregnant Sales Employees were not. She repeats this several


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times in her brief. But not one of those instances contains a citation to any evidence in the

record 9—let alone evidence indicating that AT&T “automatically excused” under the SAG any

absence, for any Sales Employee, without first requiring documentation. Tellingly, Plaintiff does

not repeat this speculation in her Statement of Undisputed Material Facts. 10

          The evidence establishes that AT&T required documentation from non-pregnant Sales

Employees for absence types on the SAG’s non-exhaustive list. For example, the SAG excused

absences taken under an approved FMLA leave. To obtain FMLA leave under AT&T’s FMLA

policy, a Sales Employee needed to (1) notify her supervisor of her absence; (2) request to

excuse that absence; and (3) submit a completed FMLA4 form to AT&T within the allotted

deadline. (SMF ¶ 106). This process applied to all Sales Employees, not just pregnant Sales

Employees. And when Plaintiff failed to follow it, AT&T legitimately denied her request for

excuse.

          Finally, Plaintiff asserts without citation to evidence that AT&T refuses to grant

intermittent leave to pregnant employees unless they qualify for FMLA or an ADA

accommodation. (Plf. Br. 17). She is wrong. Pregnant Sales Employees can receive intermittent

time off work by pursing a job accommodation through the IDSC. (SMF ¶ 97-99). AT&T never

granted Plaintiff a job accommodation in the form of time off work because she never asked for




9
  The fact that AT&T’s corporate designee—who is not a lawyer—was not familiar with “the
2015 Supreme Court decision that addressed pregnant workers’ need to be accommodated on the
job” is hardly evidence of anything. (Plf. Br. 16-17). Ms. Miller knew that AT&T prohibited
pregnancy discrimination, and that it afforded pregnant workers with access to job
accommodations, despite being unable to recall a court case from five years ago by name. (SMF
¶¶ 43, 44).

10
  Again, Defendant has no obligation to produce evidence to refute Plaintiff’s claim. See
McLaughlin, 2004 WL 1629603, at *5 (“If a moving party fails to carry its initial burden of
production, the nonmoving party has no obligation to produce anything.” (citation omitted)).
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one. AT&T informed Plaintiff that she could pursue an accommodation for excused time off

work, and told her no less than eight times that she should contact the IDSC to pursue one. (Id. ¶

100). The SAG included this instruction. (Id. ¶ 120). Each of Plaintiff’s four discipline

documents relayed it to her. (Id. ¶ 150). Plaintiff’s store manager relayed this instruction to her

directly. (Id. ¶ 126). And it was printed in bold on each of Plaintiff’s FMLA denial letters. (Id. ¶

120). But Plaintiff never called the IDSC to request an accommodation. (Id. ¶ 102).

                C.      Plaintiff fails to demonstrate that AT&T was aware that her
                        unexcused absences were pregnancy-related.

         Beyond Plaintiff’s failure to meet her prima facie burden and show an irrefutable case of

pretext, there remains an additional genuine dispute of material fact that precludes summary

judgment: whether AT&T was aware that absences for which Plaintiff received points were

pregnancy-related.

         In an attempt to sidestep the facts underlying this genuine dispute, Plaintiff contends

categorically that it was “impossible” for her to have avoided points under the SAG for absences

she incurred early in her pregnancy. (Plf. Br. 6). But Plaintiff was not foreclosed from obtaining

an excused absence under the SAG just because she was not FMLA-eligible. Plaintiff simply

chose not to pursue one.

         For example, when Plaintiff missed work on November 11, and December 6, 8, and 11,

2014 (while pregnant, but before she was FMLA-eligible), her store manager immediately

directed her to contact the IDSC to excuse her absences under an approved job

accommodation. 11 (SMF ¶ 126). Plaintiff never contacted the IDSC. (Id. ¶ 102). When Plaintiff

received a written Counseling Notice from her store manager that December, she was again


11
  As already discussed in Section III.B.2, above, it is undisputed that AT&T provided job
accommodations to its employees in the form of time off work, and that employees did not need
an ADA-qualifying disability to qualify for such an accommodation.
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instructed to call the IDSC if she wanted a job accommodation to excuse her time off work. (Id. ¶

150). But again, Plaintiff failed to contact the IDSC, and her absences remained unexcused. (Id. ¶

102). Plaintiff was then absent on three more occasions before she qualified for FMLA –

February 4, March 9, and April 3, 2015. (Id. ¶ 125). But Plaintiff never called the IDSC to

inquire about a job accommodation for those dates either, despite further written reminders that

she should do so. (Id. ¶¶ 102, 120).

         Plaintiff’s persistent disregard for AT&T’s instructions continued after she became

FMLA-eligible, too. The first time Plaintiff requested to excuse an absence under FMLA, for

example, she submitted a near-blank certification form to AT&T. (Id. ¶ 127-28). That form

provided AT&T with no reason to believe she had been absent from work (on May 4) due to a

pregnancy-related condition, as it contained nothing more than Plaintiff’s name and date of birth.

(Id. ¶ 128). After AT&T extended Plaintiff’s deadline to submit additional documentation,

Plaintiff’s doctor provided to AT&T another certification form. (Id. ¶ 130). But again, that form

did not indicate that Plaintiff needed to miss work on the date she was absent (May 4), as a result

of her pregnancy or any other condition. (Id. ¶ 131). The form merely disclosed Plaintiff’s

upcoming ob-gyn appointments (May 21 and 26), and certified that she would be unable to work

following the birth of her child (in June). (Id. ¶ 130). Having no reason to believe that Plaintiff

was “ill and/or incapacitated on the date(s) for which [she was] requesting FMLA,” AT&T

denied Plaintiff’s first request for FMLA. (Id. ¶ 133). 12




12
  As shown in Defendant’s SMF, Plaintiff’s recitation of her medical history obscures the reality
that Plaintiff did not provide her medical records to AT&T, let alone in time to have them
considered. Plaintiff may have seen her ob-gyn on May 4, 2015, but AT&T did not receive that
medical record until the day of her termination and more than a month past Plaintiff’s thrice-
extended deadline to submit documentation in support of her May 4 absence. (SMF ¶ 140).
Plaintiff can hardly claim that AT&T was on notice of these facts.
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       Thereafter, Plaintiff requested an excuse for an additional absence date under FMLA

(May 16). (Id. ¶ 136). On three separate occasions, AT&T contacted Plaintiff to inform her that

the documentation it had received to date (i.e. the same form submitted in connection with her

prior, May 4 absence) was insufficient. (Id. ¶ 137). As already discussed, that form merely

indicated that Plaintiff had forthcoming ob-gyn appointments (on May 21 and 26), and certified

that she would be unable to work following the birth of her child (in June). It did not reflect that

Plaintiff was unable to work due to her pregnancy, or any other condition, on May 16. Yet

despite these reminders, Plaintiff did not submit additional documentation to AT&T. As a result,

AT&T denied her request for FMLA. (Id. ¶ 139). Indeed, during the course of her employment,

Plaintiff never submitted to AT&T a copy of her medical records from the medical center she is

now-known to have visited on May 16 (or for that matter any records to substantiate that her

absence on that date was pregnancy-related). (Id. ¶ 141).

       Therefore, Plaintiff has not even established that AT&T was aware that these unexcused

absences were pregnancy-related. A reasonable jury could certainly conclude that AT&T denied

her excuse request for nondiscriminatory reasons.

IV.    CONCLUSION

       For all of these reasons, Plaintiff fails to meet her burden under Rule 56. Plaintiff’s

Motion for Partial Summary Judgment should be denied.




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on December 17, 2021, I caused the foregoing DEFENDANT’S

MEMORANDUM IN OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL

SUMMARY JUDGMENT to be electronically filed with the Clerk of the Court using the

CM/ECF system, which will automatically send e-mail notification of such filing to all attorneys

of record.



                                               /s/ Christine L. Cedar
                                            Christine L. Cedar
